 Case 8:21-cv-02113-MSS-JSS Document 1 Filed 09/02/21 Page 1 of 3 PageID 1




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

LEUTRIM TOPALLI,

             Plaintiff,

v.                                                 Case No.: ___________________

AMERICAN CORADIUS INTERNATIONAL, LLC,

             Defendant.
                                               /

                             NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, defendant, American

Coradius International, LLC (ACI), through undersigned counsel, hereby removes

the above-captioned civil action from the County Court of the Sixth Judicial Circuit,

in and for Pinellas County, Florida, to the United States District Court for the Middle

District of Florida, Tampa Division. The removal of this civil case is proper because:

      1.     ACI is a named defendant in this civil action filed by plaintiff, Leutrim

Topalli, (“plaintiff”), in the County Court of the Sixth Judicial Circuit, in and for

Pinellas County, Florida, titled Leutrim Topalli v. American Coradius International,

LLC, Case No.: 21-007252-SC (hereinafter the “State Court Action”).

      2.     ACI removes this case on the basis of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq., as plaintiff’s Complaint claims relief

based on alleged practices in violation of federal law.

                                           1
 Case 8:21-cv-02113-MSS-JSS Document 1 Filed 09/02/21 Page 2 of 3 PageID 2




      3.     Pursuant to 28 U.S.C. § 1446(b), ACI has timely filed this Notice of

Removal. ACI was served with plaintiff’s Complaint on August 3, 2021. This

Notice of Removal is filed within 30 days of receipt of the Complaint by ACI.

      4.     Attached hereto as Exhibit A and incorporated by reference as part of

the Notice of Removal are true and correct copies of the process and pleadings in

the State Court Action. No further proceedings have taken place in the State Court

Action.

      5.     A copy of this Notice of Removal is being served upon plaintiff and

filed concurrently with the Sixth Judicial Circuit, in and for Pinellas County, Florida.

      WHEREFORE, defendant, American Coradius International, LLC, hereby

removes to this Court the State Court Action.

Dated: September 2, 2021

                                        Respectfully Submitted,

                                        /s/ Michael P. Schuette
                                        Michael P. Schuette, Esq.
                                        Florida Bar No. 0106181
                                        Dayle M. Van Hoose, Esq.
                                        Florida Bar No. 0016277
                                        SESSIONS, ISRAEL & SHARTLE, LLC
                                        3350 Buschwood Park Drive, Suite 195
                                        Tampa, Florida 33618
                                        Telephone: (813) 890-2472
                                        Facsimile: (877) 334-0661
                                        mschuette@sessions.legal
                                        dvanhoose@sessions.legal
                                        Counsel for Defendant,
                                        American Coradius International, LLC

                                           2
 Case 8:21-cv-02113-MSS-JSS Document 1 Filed 09/02/21 Page 3 of 3 PageID 3




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 2nd day of September 2021, a copy of the

foregoing was filed electronically in the ECF system. Notice of this filing will be

sent to the parties of record by operation of the Court’s electronic filing system,

including the described below.

                          Benjamin W. Raslavich, Esq.
                             Kuhn Raslavich, P.A.
                               2110 W. Platt St.
                               Tampa, FL 33606
                              ben@thekrfirm.com


                                      /s/ Michael P. Schuette
                                      Attorney




                                         3
